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11
                                 UNITED STATES DISTRICT COURT
12
                               NORTHERN DISTRICT OF CALIFORNIA
13
                                         SAN JOSE DIVISION
14

15   UNITED STATES OF AMERICA,                 ) Case No. CR-18-00258-EJD
                                               )
16           Plaintiff,                        ) MS. HOLMES’ NOTICE OF FILING
                                               )
17      v.                                     )
                                               ) Hon. Edward J. Davila
18   ELIZABETH HOLMES and                      )
     RAMESH “SUNNY” BALWANI,                   )
19                                             )
             Defendants.                       )
20                                             )
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     MS. HOLMES’ NOTICE OF FILING
     CR-18-00258 EJD
           Case 5:18-cr-00258-EJD         Document 1208       Filed 12/20/21        Page 2 of 3




 1          PLEASE TAKE NOTICE that Defendant Elizabeth Holmes hereby files for the record certain

 2 exhibits excluded at trial pursuant to the Court’s rulings sustaining government objections. The exhibits

 3 were proffered in hard copy to the Court at the time of the relevant testimony. The exhibits are

 4 referenced in the below chart and are attached as Exhibits 1 through 11 to the Declaration of Amy

 5 Mason Saharia filed contemporaneously with this notice.

 6     Exhibit                       Description                       Trial Date       Transcript
                                                                                         Citation
 7      1938     Agenda for conference at Global Summit for the        11/3/2021      5301-5307
                 Closely Held (Chicago)
 8
        5400     Theranos Fingerstick Collection                       11/9/2021      5760-5764
 9      7164     J. Simons Email to E. Holmes and S. Burd re          10/12/2021      3077-3079
                 Highly Confidential: Memo to Chairman Murtha
10               2008 (with attachment)
11      7673     E. Holmes Presentation - Theranos Science &          11/10/2021      6014
                 Technology: The Miniaturization of Laboratory
12               Testing
        7690     Poster Presentation: A Novel Approach for            11/29/2021      7908-7909
13               Sensitive Detection of ZIKA RNA in Whole
14               Blood and Urine Samples
        7693     Screening of Recombinant Zika Virus Proteins as      11/29/2021      7908-7909
15               Antigens to Develop an ELISA for the
                 Serodiagnosis of Zika Virus Infection
16      7710     Overview of Theranos’ IP Assets and Near-Term        11/29/2021      7916-7917
                 Licensing Opportunities
17
       14125     A. Taylor Email to E. Holmes re Thank you             11/3/2021      5333-5334
18
       14138     N. Ohana Email to D. Mosley and E. Holmes             11/3/2021      5349-50; 5365-
19                                                                                    5374
       14139     D. Mosley Email to Alice and E. Holmes                11/3/2021      5349-50; 5365-
20
                                                                                      5374
21     14168     E. Holmes Email to H. Slack, D. Mosley, D.            11/3/2021      5349-50; 5365-
                 Edlin re Introduction                                                5374
22

23 DATED: December 20, 2021

24                                                      /s/ Amy Mason Saharia
                                                        KEVIN DOWNEY
25                                                      LANCE WADE
                                                        AMY MASON SAHARIA
26                                                      KATHERINE TREFZ
                                                        Attorneys for Elizabeth Holmes
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 1                                     CERTIFICATE OF SERVICE

 2         I hereby certify that on December 20, 2021 a copy of this filing was delivered via ECF on all
 3 counsel of record.

 4

 5                                                      /s/ Amy Mason Saharia
                                                        KEVIN DOWNEY
 6                                                      LANCE WADE
                                                        AMY MASON SAHARIA
 7                                                      KATHERINE TREFZ
                                                        Attorneys for Elizabeth Holmes
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